Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 1 of 131 Page ID
                                    #:544




                 Exhibit 3
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 2 of 131 Page ID
                                    #:545




                                  Exhibit 3                               3-1
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 3 of 131 Page ID
                                    #:546




                                  Exhibit 3                               3-2
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 4 of 131 Page ID
                                    #:547




                                  Exhibit 3                               3-3
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 5 of 131 Page ID
                                    #:548




                                  Exhibit 3                               3-4
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 6 of 131 Page ID
                                    #:549




                                  Exhibit 3                               3-5
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 7 of 131 Page ID
                                    #:550




                                  Exhibit 3                               3-6
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 8 of 131 Page ID
                                    #:551




                                  Exhibit 3                               3-7
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 9 of 131 Page ID
                                    #:552




                                  Exhibit 3                               3-8
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 10 of 131 Page
                                 ID #:553




                                  Exhibit 3                             3-9
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 11 of 131 Page
                                 ID #:554




                                  Exhibit 3                            3-10
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 12 of 131 Page
                                 ID #:555




                                  Exhibit 3                            3-11
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 13 of 131 Page
                                 ID #:556




                                  Exhibit 3                            3-12
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 14 of 131 Page
                                 ID #:557




                                  Exhibit 3                            3-13
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 15 of 131 Page
                                 ID #:558




                                  Exhibit 3                            3-14
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 16 of 131 Page
                                 ID #:559




                                  Exhibit 3                            3-15
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 17 of 131 Page
                                 ID #:560




                                  Exhibit 3                            3-16
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 18 of 131 Page
                                 ID #:561




                                  Exhibit 3                            3-17
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 19 of 131 Page
                                 ID #:562




                                  Exhibit 3                            3-18
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 20 of 131 Page
                                 ID #:563




                                  Exhibit 3                            3-19
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 21 of 131 Page
                                 ID #:564




                                  Exhibit 3                            3-20
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 22 of 131 Page
                                 ID #:565




                                  Exhibit 3                            3-21
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 23 of 131 Page
                                 ID #:566




                                  Exhibit 3                            3-22
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 24 of 131 Page
                                 ID #:567




                                  Exhibit 3                            3-23
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 25 of 131 Page
                                 ID #:568




                                  Exhibit 3                            3-24
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 26 of 131 Page
                                 ID #:569




                                  Exhibit 3                            3-25
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 27 of 131 Page
                                 ID #:570




                                  Exhibit 3                            3-26
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 28 of 131 Page
                                 ID #:571




                                  Exhibit 3                            3-27
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 29 of 131 Page
                                 ID #:572




                                  Exhibit 3                            3-28
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 30 of 131 Page
                                 ID #:573




                                  Exhibit 3                            3-29
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 31 of 131 Page
                                 ID #:574




                                  Exhibit 3                            3-30
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 32 of 131 Page
                                 ID #:575




                                  Exhibit 3                            3-31
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 33 of 131 Page
                                 ID #:576




                                  Exhibit 3                            3-32
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 34 of 131 Page
                                 ID #:577




                                  Exhibit 3                            3-33
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 35 of 131 Page
                                 ID #:578




                                  Exhibit 3                            3-34
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 36 of 131 Page
                                 ID #:579




                                  Exhibit 3                            3-35
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 37 of 131 Page
                                 ID #:580




                                  Exhibit 3                            3-36
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 38 of 131 Page
                                 ID #:581




                                  Exhibit 3                            3-37
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 39 of 131 Page
                                 ID #:582




                                  Exhibit 3                            3-38
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 40 of 131 Page
                                 ID #:583




                                  Exhibit 3                            3-39
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 41 of 131 Page
                                 ID #:584




                                  Exhibit 3                            3-40
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 42 of 131 Page
                                 ID #:585




                                  Exhibit 3                            3-41
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 43 of 131 Page
                                 ID #:586




                                  Exhibit 3                            3-42
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 44 of 131 Page
                                 ID #:587




                                  Exhibit 3                            3-43
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 45 of 131 Page
                                 ID #:588




                                  Exhibit 3                            3-44
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 46 of 131 Page
                                 ID #:589




                                  Exhibit 3                            3-45
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 47 of 131 Page
                                 ID #:590




                                  Exhibit 3                            3-46
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 48 of 131 Page
                                 ID #:591




                                  Exhibit 3                            3-47
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 49 of 131 Page
                                 ID #:592




                                  Exhibit 3                            3-48
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 50 of 131 Page
                                 ID #:593




                                  Exhibit 3                            3-49
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 51 of 131 Page
                                 ID #:594




                                  Exhibit 3                            3-50
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 52 of 131 Page
                                 ID #:595




                                  Exhibit 3                            3-51
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 53 of 131 Page
                                 ID #:596




                                  Exhibit 3                            3-52
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 54 of 131 Page
                                 ID #:597




                                  Exhibit 3                            3-53
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 55 of 131 Page
                                 ID #:598




                                  Exhibit 3                            3-54
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 56 of 131 Page
                                 ID #:599




                                  Exhibit 3                            3-55
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 57 of 131 Page
                                 ID #:600




                                  Exhibit 3                            3-56
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 58 of 131 Page
                                 ID #:601




                                  Exhibit 3                            3-57
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 59 of 131 Page
                                 ID #:602




                                  Exhibit 3                            3-58
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 60 of 131 Page
                                 ID #:603




                                  Exhibit 3                            3-59
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 61 of 131 Page
                                 ID #:604




                                  Exhibit 3                            3-60
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 62 of 131 Page
                                 ID #:605




                                  Exhibit 3                            3-61
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 63 of 131 Page
                                 ID #:606




                                  Exhibit 3                            3-62
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 64 of 131 Page
                                 ID #:607




                                  Exhibit 3                            3-63
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 65 of 131 Page
                                 ID #:608




                                  Exhibit 3                            3-64
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 66 of 131 Page
                                 ID #:609




                                  Exhibit 3                            3-65
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 67 of 131 Page
                                 ID #:610




                                  Exhibit 3                            3-66
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 68 of 131 Page
                                 ID #:611




                                  Exhibit 3                            3-67
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 69 of 131 Page
                                 ID #:612




                                  Exhibit 3                            3-68
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 70 of 131 Page
                                 ID #:613




                                  Exhibit 3                            3-69
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 71 of 131 Page
                                 ID #:614




                                  Exhibit 3                            3-70
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 72 of 131 Page
                                 ID #:615




                                  Exhibit 3                            3-71
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 73 of 131 Page
                                 ID #:616




                                  Exhibit 3                            3-72
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 74 of 131 Page
                                 ID #:617




                                  Exhibit 3                            3-73
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 75 of 131 Page
                                 ID #:618




                                  Exhibit 3                            3-74
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 76 of 131 Page
                                 ID #:619




                                  Exhibit 3                            3-75
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 77 of 131 Page
                                 ID #:620




                                  Exhibit 3                            3-76
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 78 of 131 Page
                                 ID #:621




                                  Exhibit 3                            3-77
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 79 of 131 Page
                                 ID #:622




                                  Exhibit 3                            3-78
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 80 of 131 Page
                                 ID #:623




                                  Exhibit 3                            3-79
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 81 of 131 Page
                                 ID #:624




                                  Exhibit 3                            3-80
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 82 of 131 Page
                                 ID #:625




                                  Exhibit 3                            3-81
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 83 of 131 Page
                                 ID #:626




                                  Exhibit 3                            3-82
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 84 of 131 Page
                                 ID #:627




                                  Exhibit 3                            3-83
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 85 of 131 Page
                                 ID #:628




                                  Exhibit 3                            3-84
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 86 of 131 Page
                                 ID #:629




                                  Exhibit 3                            3-85
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 87 of 131 Page
                                 ID #:630




                                  Exhibit 3                            3-86
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 88 of 131 Page
                                 ID #:631




                                  Exhibit 3                            3-87
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 89 of 131 Page
                                 ID #:632




                                  Exhibit 3                            3-88
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 90 of 131 Page
                                 ID #:633




                                  Exhibit 3                            3-89
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 91 of 131 Page
                                 ID #:634




                                  Exhibit 3                            3-90
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 92 of 131 Page
                                 ID #:635




                                  Exhibit 3                            3-91
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 93 of 131 Page
                                 ID #:636




                                  Exhibit 3                            3-92
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 94 of 131 Page
                                 ID #:637




                                  Exhibit 3                            3-93
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 95 of 131 Page
                                 ID #:638




                                  Exhibit 3                            3-94
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 96 of 131 Page
                                 ID #:639




                                  Exhibit 3                            3-95
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 97 of 131 Page
                                 ID #:640




                                  Exhibit 3                            3-96
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 98 of 131 Page
                                 ID #:641




                                  Exhibit 3                            3-97
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 99 of 131 Page
                                 ID #:642




                                  Exhibit 3                            3-98
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 100 of 131 Page
                                  ID #:643




                                  Exhibit 3                             3-99
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 101 of 131 Page
                                  ID #:644




                                  Exhibit 3                           3-100
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 102 of 131 Page
                                  ID #:645




                                  Exhibit 3                           3-101
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 103 of 131 Page
                                  ID #:646




                                  Exhibit 3                           3-102
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 104 of 131 Page
                                  ID #:647




                                  Exhibit 3                           3-103
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 105 of 131 Page
                                  ID #:648




                                  Exhibit 3                           3-104
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 106 of 131 Page
                                  ID #:649




                                  Exhibit 3                           3-105
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 107 of 131 Page
                                  ID #:650




                                  Exhibit 3                           3-106
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 108 of 131 Page
                                  ID #:651




                                  Exhibit 3                           3-107
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 109 of 131 Page
                                  ID #:652




                                  Exhibit 3                           3-108
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 110 of 131 Page
                                  ID #:653




                                  Exhibit 3                           3-109
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 111 of 131 Page
                                  ID #:654




                                  Exhibit 3                           3-110
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 112 of 131 Page
                                  ID #:655




                                  Exhibit 3                           3-111
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 113 of 131 Page
                                  ID #:656




                                  Exhibit 3                           3-112
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 114 of 131 Page
                                  ID #:657




                                  Exhibit 3                           3-113
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 115 of 131 Page
                                  ID #:658




                                  Exhibit 3                           3-114
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 116 of 131 Page
                                  ID #:659




                                  Exhibit 3                           3-115
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 117 of 131 Page
                                  ID #:660




                                  Exhibit 3                           3-116
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 118 of 131 Page
                                  ID #:661




                                  Exhibit 3                           3-117
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 119 of 131 Page
                                  ID #:662




                                  Exhibit 3                           3-118
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 120 of 131 Page
                                  ID #:663




                                  Exhibit 3                           3-119
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 121 of 131 Page
                                  ID #:664




                                  Exhibit 3                           3-120
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 122 of 131 Page
                                  ID #:665




                                  Exhibit 3                           3-121
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 123 of 131 Page
                                  ID #:666




                                  Exhibit 3                           3-122
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 124 of 131 Page
                                  ID #:667




                                  Exhibit 3                           3-123
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 125 of 131 Page
                                  ID #:668




                                  Exhibit 3                           3-124
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 126 of 131 Page
                                  ID #:669




                                  Exhibit 3                           3-125
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 127 of 131 Page
                                  ID #:670




                                  Exhibit 3                           3-126
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 128 of 131 Page
                                  ID #:671




                                  Exhibit 3                           3-127
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 129 of 131 Page
                                  ID #:672




                                  Exhibit 3                           3-128
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 130 of 131 Page
                                  ID #:673




                                  Exhibit 3                           3-129
Case 2:16-cv-09178-MWF-E   Document 37-4 Filed 01/23/18   Page 131 of 131 Page
                                  ID #:674




                                  Exhibit 3                           3-130
